                   Case 8:22-cv-00983-DFM     Document 113 Filed 11/21/22     Page 1 of 3 Page ID
                                                      #:1942


                    1   COOLEY LLP
                        MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
                    2   3 Embarcadero  Center
                        20th Floor
                    3   San Francisco, CA 94111
                        Telephone: (415) 693-2000
                    4   Facsimile: (415) 693-2222
                    5   TIANA DEMAS (pro hac vice) (tdemas@cooley.com)
                        110 N. Wacker Drive, Suite 4200
                    6   Chicago, IL 60606
                        Telephone: (312) 881-6500
                    7   Facsimile: (312) 881-6598
                    8   BARRETT J. ANDERSON (318539) (banderson@cooley.com)
                        WALTER WAIDELICH (300798) (cwaidelich@cooley.com)
                    9   4401 Eastgate Mall
                        San Diego, CA 92121
                   10   Telephone: (858) 550-6000
                        Facsimile: (858) 550-6420
                   11
                        GREGORY MERCHANT (341287) (gmerchant@cooley.com)
                   12   3175 Hanover Street
                        Palo Alto, CA 94304
                   13   Telephone: (650) 843-5000
                        Facsimile: (650) 849-7400
                   14
                   15   Attorneys for Defendant
                        THE STATE BAR OF CALIFORNIA
                   16
                        Counsel continued on following page
                   17
                                             UNITED STATES DISTRICT COURT
                   18
                              CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                   19
                   20
                        JOHN ROE 1, an individual; JANE          Case No. 8-22-CV-00983-DFM
                   21   ROE 1, an individual; JANE ROE 2 an
                        individual; JANE ROE 3, an individual,   THE STATE BAR OF CALIFORNIA’S
                   22   JOHN ROE 2, on behalf of themselves      NOTICE OF SUPPLEMENTAL MOTION
                        and all others similarly situated,       AND MOTION TO DISMISS
                   23                                            PLAINTIFFS’ SECOND AMENDED
                                       Plaintiffs,               COMPLAINT
                   24         v.
                                                                 Courtroom: 6B
                   25   THE STATE BAR OF CALIFORNIA;             Judge:     Hon. Douglas F. McCormick
                        TYLER TECHNOLOGIES, INC.;                Date:      [The Clerk of Court will
                   26   RICK RANKIN; and DOES 4 through          Time:      reach out to set a hearing
                        10, inclusive,                                      date, (Dkt. 110)]
                   27
                                       Defendants.
                   28

COOLEY LLP                                                                  THE CA STATE BAR’S NOTICE OF SUPP.
ATTORNEYS AT LAW
                                                                            MOTION AND MOTION TO DISMISS SAC
  LOS ANGELES
                                                                                  CASE NO. 8-22-CV-00983-DFM
                   Case 8:22-cv-00983-DFM   Document 113 Filed 11/21/22      Page 2 of 3 Page ID
                                                    #:1943


                    1   OFFICE OF GENERAL COUNSEL
                        THE STATE BAR OF CALIFORNIA
                    2   ELLIN DAVTYAN (238609) (ellin.davtyan@calbar.ca.gov)
                        General Counsel
                    3   ROBERT G. RETANA (148677) (robert.retana@calbar.ca.gov)
                        Deputy General Counsel
                    4   SUZANNE C. GRANDT (304794) (suzanne.grandt@calbar.ca.gov)
                        Assistant General Counsel
                    5   180 Howard Street
                        San Francisco, CA 94105-1639
                    6   Telephone: (415) 538-2388
                        Facsimile: (415) 538-2517
                    7
                    8   Attorneys for Defendant
                        THE STATE BAR OF CALIFORNIA
                    9
                   10
                   11
                   12
                   13
                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                   28
                                                                          THE CA STATE BAR’S NOTICE OF SUPP.
COOLEY LLP                                                                MOTION AND MOTION TO DISMISS SAC
ATTORNEYS AT LAW
  LOS ANGELES
                                                                                CASE NO. 8-22-CV-00983-DFM
                   Case 8:22-cv-00983-DFM      Document 113 Filed 11/21/22        Page 3 of 3 Page ID
                                                       #:1944


                    1   TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                    2         PLEASE TAKE NOTICE THAT on a date and time to be set by the Clerk
                    3   of Court, (Dkt. 110), defendant The State Bar of California will and hereby does
                    4   move for the Court, pursuant to Rule 8 and Rule 12(b)(6) of the Federal Rules of
                    5   Civil Procedure, for an order dismissing the claims brought under Sections 1 and 2
                    6   of the Sherman Antitrust Act in the Second Amended Complaint (“SAC”) with
                    7   prejudice. The State Bar’s Motion is principally based on the grounds that: (1) the
                    8   SAC does not provide the State Bar adequate notice of the antitrust claims asserted
                    9   against it in violation of Rule 8; (2) the State bar is immune from antitrust liability
                   10   under Parker v. Brown, 317 U.S. 341, 350 (1943); and (3) the SAC fails to
                   11   sufficiently allege the essential elements of a claim under Sections 1 or 2 of the
                   12   Sherman Antitrust Act in violation of Rule 12(b)(6).
                   13         This Motion is made pursuant to the Court’s order on the State Bar’s first
                   14   motion to dismiss, (Dkt. 94 at 9), and is based on this Notice of Supplemental Motion
                   15   and Motion, the accompanying Memorandum of Points and Authorities, the Request
                   16   for Judicial Notice, the Declaration of Tiana Demas, and all attached exhibits, all
                   17   records and papers on file in this action, and any evidence or oral argument offered
                   18   at any hearing on this motion.
                   19         Pursuant to Local Rule 7-3, this Motion is made following the conference of
                   20   counsel on the State Bar’s motion to dismiss, which took place on May 26, 2022, and
                   21   additional communications between counsel since then.
                   22
                   23   Dated: November 21, 2022                COOLEY LLP
                   24                                           /s/ Tiana Demas
                   25                                           Tiana Demas

                   26                                           Attorneys for Defendant
                   27                                           THE STATE BAR OF CALIFORNIA

                   28

COOLEY LLP                                                                      THE CA STATE BAR’S NOTICE OF SUPP.
ATTORNEYS AT LAW
  LOS ANGELES
                                                                  1             MOTION AND MOTION TO DISMISS SAC
                                                                                      CASE NO. 8-22-CV-00983-DFM
